



                                                                    



IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                       




NO. 3-92-359-CR




PATRICK CHARLES HABERMAN,



	APPELLANT


vs.




THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE DISTRICT COURT OF TRAVIS COUNTY, 167TH JUDICIAL DISTRICT



NO. 0920904, HONORABLE BOB JONES, JUDGE PRESIDING


                       




PER CURIAM


	This is an appeal from a judgment of conviction for burglary of a vehicle. 
Punishment was assessed at confinement for six years, probated, and a $500.00 fine.

	Appellant has filed a motion to withdraw the appeal.  No decision of this Court has
been delivered.  The motion is granted and the appeal is dismissed.  See Tex. R. App. P. 59(b).


[Before Justices Powers, Kidd and B. A. Smith]

Dismissed on Appellant's Motion

Filed:  February 3, 1993

[Do Not Publish]


